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                                   UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEW HAMPSHIRE

                                                            §
                                                            §
Coronavirus Reporter,                                       §
                                                            §
                        Plaintiff,                          §      Civil Action No. 1:21-cv-00047-LM
v.                                                          §
                                                            §
Apple Inc.,                                                 §
                                                            §
                        Defendant.                          §
                                                            §

     APPLE INC.’S LOCAL RULE 7.1(C) STATEMENT OF CONCURRENCE IN
      CONNECTION WITH ITS MOTION TO EXCEED PAGE LIMITS OF ITS
   MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION TO TRANSFER VENUE
                     PURSUANT TO 28 U.S.C. § 1404(A)

                Apple Inc. (“Apple”), by and through its attorneys, Sulloway & Hollis, PLLC and Paul,

Weiss, Rifkind, Wharton & Garrison LLP, in accord with the Court’s March 12, 2021 Notice of

Nonconforming Document, submits the following Local Rule 7.1 (c) statement of concurrence:

                1.      Keith Mathews, Esquire, counsel for Coronavirus Reporter, was contacted by email

on March 12, 2021 and was asked to assent to the relief sought in Apple’s Motion to Exceed Page

Limits of its Memorandum of Law in Support of Its Motion to Transfer Venue Pursuant to 28

U.S.C. § 1404(a) [18].

                2.      Later that day, Attorney Mathews assented to the relief sought by Apple. See LR

7.1(c).




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                                              Respectfully submitted,

                                              APPLE INC.

                                              By and through its attorneys,
                                              SULLOWAY & HOLLIS, PLLC

Date: March 12, 2021                   By:    /s/ Kevin O’Shea
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                                  CERTIFICATE OF SERVICE

        I hereby certify that this pleading was filed through the ECF/CM system and will be sent
to all parties of record through ECF/CM.
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{C2228537.1 }                                    2
